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FOIA Summons (1/13) (Page 2)

Civil Action No. 23-CV-2116

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)   Federal Bureau of Prisons
was received by me on (date)                07/24/2023              .

          ’ I personally served the summons on the individual at (place)
                                                                                on (date)                         ; or

          ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                           , a person of suitable age and discretion who resides there,
          on (date)                           , and mailed a copy to the individual’s last known address; or

          ’ I served the summons on (name of individual)                                                                   , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                         ; or

          ’ I returned the summons unexecuted because                                                                           ; or

          ✔
          ’ Other (specify): I mailed copies of the summons and complaint via certified mail to Director Colette S.
                                 Peters, Federal Bureau of Prisons, 320 First St. NW, Washington, DC 20534. On
                                 08/01/2023 the United States Postal Service marked the package as delivered.                          .


          My fees are $                       for travel and $                   for services, for a total of $          0.00          .


          I declare under penalty of perjury that this information is true.


Date:          08/10/2023
                                                                                      Server’s signature


                                                                        Samuel Rosen, Associate, Gerstein Harrow
                                                                                    Printed name and title

                                                                                   Gerstein Harrow
                                                                                810 7th St. NE, Ste. 301
                                                                                Washington, DC 20002
                                                                                       Server’s address

Additional information regarding attempted service, etc:
